
30 So.3d 688 (2010)
Stephen L. GREEN, Jr., Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION and YJNK III, Inc., Appellees.
No. 1D09-4716.
District Court of Appeal of Florida, First District.
March 25, 2010.
*689 Stephen L. Green, pro se, Appellant.
Geri Atkinson-Hazelton, General Counsel, and Louis A. Gutierrez, Assistant General Counsel, Tallahassee, for Appellees.
PER CURIAM.
DISMISSED. See generally Durando v. Palm Beach County, 719 So.2d 1258 (Fla. 1st DCA 1998). The motion to dismiss, filed on November 5, 2009, is denied as moot.
DAVIS, BENTON, and MARSTILLER, JJ., concur.
